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AU 245B       (Rev. 0911 1) Judgment in a Criminal Case
              Sheet I



                                           UNITED STATES DISTRICT COURT
                                                          MIDDLE DISTRICT OF ALABAMA

              UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                                   V.                                     )

                        DEMAREIO HARRIS                                           Case Number: 2:13cr072-0I-WKW

                                                                                  USM Number: 14453-002

                                                                                   Thomas Goggans
                                                                                  Dfèndattt Attorney
THE DEFENDANT:
 61eadcd guilty to count(s)             3 of the Indictment on 05/08/2014
   pleaded noto conendcrc to count(s)
   which was accepted by the court.
E was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicalcd guilty of these offenses:

'I'itle & Section                 Nalure of Offense                                                           Offense Ended             Count

 18:924(c)(1)(A)(ii); 2             Brandishing a Firearm During a Crime of Violence;                          101282012                 3

                                         Aiding and Abetting




   Sec additional count(s) on page 2


      The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
L1 The defendant has been found not guilty on count(s)
   Couri1(s) 1 and 2                                        L1 is   'are dismissed on the motion of the United States.

          It is ordered that the defendant mist notify the United States attorney for this district within 30 days u any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are full> paid. If ordered to pay restitution,
 lie defendant must notify the court and United States attorney of material changes in economic circlIn1stance.

                                                                         08/19/2014
                                                                         Date ui IRtpttsLti(ttl ot Judgment




                                                                         Signature
                                                                               fJud J        2'
                                                                         W. KEITH WATKINS, CHIEF U.S. DISTRICT JUDGE
                                                                         Name ot Judge                                 title id Judge



                                                                                                                      ------
                                                                         Date
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AO 245B           (Rev 09/1 1) Judgmentin a Criminal Case
vi                Sheer 2— imprisonment

                                                                                                                        Judgment Page: 2 of 6
     DEFENDANT: DEMAREIO HARRIS
     CASE NUMBER: 2:13cr072-01-WKW


                                                                  IMPRISONMENT

              The defendant is hereby committed to the custody of the United Slates Bureau of Prisons to be imprisoned lr a
     total term of:
      84 Months




               The court makes the following recommendations to tile Bureau of Prisons:

         The Court recommends that defendant be designated to a facility where drug treatment, mental health treatment and
         educational and vocational training are available.


               The defendant is remanded to the custody ol'ihc United States Marshal.

           U The defendant shall surrender to the United States Marshal for this district:
               U at                                   . U am.        U p.m.          on

               U as notified by the United States Marshal.

           U The defendant shall surrender for service of sentence at the institution designated by the Bureau of risons:
               U helore                   on

               U as notified by the United Stales Marshal.
               U as notilicd by the Probation or Pretrial Sery ices Office,


                                                                         RETURN
     I have executed this judgment as follows:




               Defendant delivered on -.                                                       In

     a                                                      with a certified copy of this judgment.



                                                                                                         UNITED STATIS MARSHAl,


                                                                                By
                                                                                                      DEPUTY UNITED SI AlES MARSIIAL
                    Case 2:13-cr-00072-WKW-SRW Document 111 Filed 09/03/14 Page 3 of 6


AO 24513        (Rev, 09/11) Judgment in a Criminal Case
                Sheet 3— Supervised Release


DEFENDANT: DEMARE10 HARRIS                                                                                                  Judgment Page: 3 of

CASE NUMBER: 2:13cr072-01-WKW
                                                           SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of;
 3 Years


          The defendant must report to the probation office in the district to which the defendant is released vithin 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant l-oses a low risk of
        future substance abuse. (Check, if appli cable)

        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous we ipon, (check, if applicable.)
        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Chock, ifppiicable)

        The defendant shall comply with the requirements of- the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, ci seq.)
        as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agenc y in which he or she resides,
        works, is a student, or was convicted of a qualifying offense. (Check. tfapphcabie.)

 El The defendant shall participate in an approved program for domestic violence. Check, if apphcable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that hwe been adopted by this court as well as with any additional conditions
 on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
   I)      the defendant shall not leave the judicial district without the permission of the court or probation offi.er ;
   2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or orobation officer;
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer fbi schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribije, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed b a physician;
    )      the defendant shall not frequent places where controlled substances are illegally sold, used, distribute;, or administered;
   9)      the defendant shall not associate with an y persons engaged in criminal activity and shall not associate vith any person convicted ofa
           felony, unless granted permission to do o by the proatlon officer;
  10)      the defendant shall permit a probation officer to visit him or her at an y time at home or elsewhere and 5 iall permit confiscation of any
           contraband observed in plain view of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questionid by a law enforcerrent officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of law cnfo'cemnt agency without the
           permission of the court: and

  13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be oecasio ed by the defendant's criminal
           record or personal history or characteristics and shall permit the probation officer to make such nolific Itions and to confirm the
           defendant s compliance with such notification requirement.
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AO 24B         (Rev. 09/I1) Judgment tn a Criminal Case
vi             Sheet 3C - Supervised Release

                                                                                                           Judgment Page: 4 of 6
 DEFENDANT: DEMAREIO HARRIS
 CASE NUMBER: 2:13cr072-01-WKW


                                             SPECIAL CONDITIONS OF SUPERVISION

     Defendant shall participate in a program of drug testing administered by the probation office for substance abuse, which
     may include testing to determine whether he has reverted to the use of drugs. Defendant shall contribute to the cost of
     any treatment based on ability to pay and the availability of third-party payments.

     Defendant shall participate in a mental health treatment program approved by the United States Probation Office and
     contribute to the cost based on ability to pay and availability of third party payments.

     Defendant shall participate in an educational or vocational training program approved by the Urited States Probation
     Office if deemed necessary by the supervising probation officer.

     Defendant shall provide the probation officer any requested financial information.

     Defendant shall not obtain new credit without approval of the court unless in compliance with th payment schedule.

     Defendant shall submit to a search of his person, residence, office or vehicle pursuant to the serch policy of this court.
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AO 245B      (Rev 09/1 1) Judignient in a Criminal Case
             Shec 5 - Criminal Mon ' tary Penalties

                                                                                                                       Judgmeut Page: 5 of 6
 DEFENDANT: DEMAREIO HARRIS
 CASE NUMBER: 2:13cr072-01-WKW
                                                  CRIMINAL MONETARY PENALTIES

     The defendant must pay the total criminal monetary penalties under the schedule of payments on She:t 6.


                      Assessment                                             Fine                            Restitution
 TOTALS            S 100.00                                              S                                 S $139.00


 El The determination of restitution is deferred until                       . An Amended Judgment in 0 Crimin' T Case (AG 245c will be entered
     after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the mount listed below.

     If the defendant makes a partial payment, each pa y ee shall receive an approximately proportioned payment, unless specified otherwise in
     the priorityrder
                   o or percentage payment column belo w. However, pursuant to IX U.S.C. § 3664(1), a nonfederal victims must be paid
     before the United States is paid.

 Name of Payee                                                       Total Loss*                 Restitution Orderd Priority or Percentage

  The Liberty Market (Liberty Petroleum LLC)                                                                 $13000

  904 West Edgemont Avenue

  Montgomery, AL 36108




TOTALS                                                                                   $0.00               $130.00


fl Restitution amount ordered pursuant to plea agreement S
fl The defendant must pay interest on restitution and a fine of more than 52,500, unless the restitution or inc is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(1). All of the payment opliors on Sheet 6 may he subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      gr the interest requirement is waived for the             0 fine          restitution.

          the interest requirement for the            fl fine        restitution is modified as follows:



* Findings for the total arrount of losses arerequired under Chapters 109A, 110, IIOA. and 113A of Title 18 f:iroffenses committed on or after
September 13, 1994, but before April 23, 1996.
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AO 245B      (Rev 09/11) Judgment in a Criminal Case
VI           Sheet 6   Schedule of Payments
                                                                                                                           Judgment Page 6of6
 DEFENDANT: DEMAREIO HARRIS
 CASE NUMBER: 2:13cr072-01-WKW


                                                       SCHEDULE OF PAYMENTS

 Raving assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A         Lump sum payment ofS 230.00                          due immediately, balance due

                 not later than                                      or
                 in accordance                C.        D.           E, or     R F below; or

 B    R Payment to begin immediately (may be combined with                   El C,          D, or         F below); pr

 C         Payment in equal                    (e.g., weekly, monthly, quarterly) installments of                               over a period of
                  -    (e.g months or years), to commence                        (e.g., 30 or 60 days) after the dale of this judgment; or

 0         Payment in equal                        (e.g.. weekI, monthly, quarterly) installments of $                         over a period of
                         e.g., mon/Its or years), to commence                      (e.g. 30 or 60 days) after rcleas: from imprisonment to a
           term of supervision: or

 E         Payment during the term of 'supervised release will commence within                (e.g., 30 or 60 days) alter release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's a ility to pay at that time; or

 F    V Special instructions regarding the payment ot'criminal monetary penalties:
            All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District of Alabama, Post Office Box 711,
            Montgomery, Alabama 36101. Any balance of restitution remaining at the start of supervision shall be pr id at the rate of not less than
            525.00 per month. To the extent that other defendants are ordered in this case or in any other case to be re: ponsible for some or all of the
            restitution amount owed to the victim, the victim is entitled to only one recovery, from whomever receive:, In other words, the victim is not
            allowed to receive compensation in excess of its loss.
                                       Related cases/defendants: Erie Mack 2; I 3cr072-02-WKW

 Unless the court hasexpressly ordered otherwise, ii' this judgment imposes imprisonment, payrrnt Of Criminal monetary penalties is due during
 imprisonment. All crimnal monetary penalties, except hose payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalti:s imposed.




 L Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendani number), Total Amount, . )Lnt and Several Amount,
      and corresponding payee, if appropriate.




 E The defendant shall pay the cost of prosecution.

 El The defendant shall pay the followin g court cost(s):

 E The defendant. shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (I) assessment, (2) restitution principal. (3) restitution in(.trest. (4) line principal,
(5) fine interest, (6) communit y restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
